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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
FRANCOIS KARAKE,                                      )
                                                      )
LEONIDAS BIMENYIMANA,                                 )
                                                      )
GREGOIRE NYAMINANI,                                   )
                                                      )
                Plaintiffs,                           )   Civil Action No. 09-2082 (RMU)
                                                      )
       v.                                             )
                                                      )
U.S. DEPARTMENT OF HOMELAND                           )
SECURITY,                                             )
                                                      )
                Defendant.                            )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s November 5, 2010 Order, the parties hereby jointly submit this

status report regarding Plaintiffs’ deferral of removal status, deportation proceedings, and

Defendant U.S. Department of Homeland Security’s (“DHS”) decision to credit the diplomatic

assurances provided by Rwanda and forwarded by the Deputy Secretary of State.

       On June 11, 2010, the Assistant Secretary of Homeland Security for Immigration and

Customs Enforcement issued a Notice of Decision to Credit Assurances. That notice provided

Plaintiffs 21 days, or until July 2, 2010, to submit written argument and evidence to Deputy

Secretary of Homeland Security Jane Holl Lute concerning whether their respective deferrals of

removal should be terminated based on the diplomatic assurances. On June 15, 2010, Plaintiffs

requested a 31-day extension of time to present evidence. As noted in the Court’s Order, based

on that request, Plaintiffs were given until August 2, 2010 to respond. By and through their

counsel, Plaintiffs presented evidence to DHS in support of their position by electronic mail on
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August 2. On August 19, Deputy Secretary Lute acknowledged receipt of Plaintiffs’ submission

by facsimile to Plaintiffs’ counsel and stated that the “matter is under consideration.” Deputy

Secretary Lute further indicated that she would inform Plaintiffs “if additional information . . .

regarding this matter would aid in [her] consideration of [Plaintiffs’] submission and the

remainder of the record.” Since August 19, the matter has been under active consideration at

DHS, and Plaintiffs have remained in detention pending decision by the Deputy Secretary.



November 17, 2010                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I hereby certify that on November 17, 2010, I electronically filed the foregoing Joint

Status Report with the Clerk of Court by using the CM/ECF system, which will provide

electronic notice and an electronic link to the same to the following attorneys of record:


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